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UNlTED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

 

 

STERLING EQUIPMENT, INC,, §
Plaz`nti]j§ §

) C.A. No.
v. )
)
PETER GIBSON )
)
)
Defena'ant. )
)

C()MPLAINT

Sterling Equipment, Inc., by its attorneys, Pierce Atvvood, LLP, as and for its Complaint
against Defendant Peter Gibson (the “Defendant” or “Mi”) hereby alleges as folloWs:
PARTIES

l. Sterling Equipment, lnc. (“Y”) is a Massachusetts Corporation With offices in
Quincy, Massachusetts.

2. For over fifteen years, Peter Gibson Was an employee of SEI and/ or its affiliate
Cashman Dredging & Marine Contracting Co., LLC (“M” or the “Company”). CDMC is a
Massachusetts limited liability company vvith its offices in Quincy, Massachusetts. Gibson is a
former Massachusetts resident Gibson presently resides at 12337 Homeport Drive, Maurepas,
Louisiana.

JURISDICTION AND VENUE

3. Jurisdiction is properly placed in this court pursuant to 28 U.S.C. § 1332 because

the amount in controversy exceeds $75,000, exclusive of interest and costs, and there is

diversity of citizenship between SEI and Defendant.

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4. Venue is proper pursuant to 28 U.S.C. § l391(a) because a substantial part of the
events and/or omissions giving rise to the claims asserted herein occurred in this judicial district
and Defendant is subject to personal jurisdiction in this J udicial District.

FACTS

5. Defendant began his employment at SEI in 2002 as a port engineer and over the
next fifteen (15) years Would be employed by either SEI or CDMC in various roles in various
states, including in Massachusetts.

6. ln 2007, Defendant moved to Massachusetts With Wendy Gibson to continue
Working for CDMC.

7. In January 2011, Wendy Gibson began Worl<ing for SEI, a company directly
affiliated With CDMC, in Quincy, Massachusetts.

8. Ms. Gibson began her career at SEI as an accounts payable clerk and receptionist,
and Was thereafter promoted to the position of controller As controller, Ms. Gibson Was
responsible for all accounting functions at SEI.

9. ln May 2012, Defendant married Wendy Gibson in Massachusetts.

10. ln February 2013, Peter Gibson and Wendy Gibson moved to Florida but Wendy
Gibson continued as controller of SEl and Peter Gibson continued as an employee of CDl\/IC.

ll. In June 2014, Defendant and Wendy Gibson divorced. However, after
purportedly living apart for only a short time, in October of 2014, Defendant and Wendy Gibson
moved back in together in shared residence in Florida.

12. ln November 2014, Defendant and Wendy Gibson moved back to l\/lassachusetts
Where both resided until April 2015. Thereafter, Defendant and Wendy Gibson moved to

Louisiana to gether.

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13. At all times, even during the period in vvhich they Were divorced, Defendant and
Ms. Gibson remained close and stayed in constant contact each day by telephone For instance,
on August 22, 2014 (the day of the Fraudulent Wire Transfer), Ms. Gibson called Defendant
seventeen (17) times.

14. ln July 2015, Defendant and Wendy Gibson re-married.

15. Throughout their two marriages and even during their brief divorce, Wendy
Gibson managed and controlled both Peter Gibson and Wendy Gibson’s joint finances through
various joint banking accounts. lndeed, Peter Gibson testified that even during their brief
divorce, he Would need to ask Wendy Gibson for the passvvords and lo gin information for the
couple’s shared bank accounts.

Wendy Gibson Converts $198,000 From SEI

16. On August 22, 2014, Wendy Gibson sent a Wire transfer for one hundred and
ninety-eight thousand dollars ($198,000) from SEl’s Santander bank account in l\/Iassachusetts
purportedly to a Unique Holdings Corp. in payment of a purported lnvoice No. 209 (the

“Fraudulent Wire Transfer”). HoWever, there Was no lnvoice No. 209 nor Were funds received

 

by a “Unique Holdings Corp”. The Fraudulent Wire Transfer constituted a fraud committed by
Ms. Gibson to misappropriate SEl’s funds. SEI proved these facts to a jury at trial held before
U.S. District Judge Stearns in the U.S. District Court for the District of Massachusetts. See
Exhibit. A, Docket Sheet, Sterlz'ng Equz'pment, Inc. v. Gibson, 1:16-cv~11594-RGS; See Exhibit
B (Complaint Against Wendy Gibson); Exhibit C (Judgment on Jury Verdict Form).

17. At this trial, a jury found Ms. Gibson liable for conversion of property belonging

to SEl and awarded SEI the full amount of the Fraudulent Wire Transfer (($198,000) and an

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additional fifty thousand dollars ($50,000) for breaching her fiduciary duties to SEI. See Exhibit
C (Judgment).

18. On January 11, 2018, Judge Stearns entered Judgment for a total amount of
$290,234.74, inclusive of pre-judgment interest See Exhibit C (Judgment).

T he Ill~Gotten Gains Converted From SEI’s BankAccount in Massachusetts
Were Deposited Into Defendant’s Bank Acco unts in Massaclzusetts

19. Since August 22, 2014_the date Wendy Gibson converted SEl’s funds through
effectuating the Fraudulent Wire Transfer_substantial unexplained funds have been deposited
into several bank accounts held jointly by Defendant and Ms. Gibson.

20. During the litigation brought by SEI against Ms. Gibson on August 4, 2016, SEl
retained a forensic accountant to review the relevant bank records of Defendant and Ms. Gibson
that SEl was able to secure during discovery.

21. Based on a review of these records, and after taking into account normal
depository activity such as regular income, bonus compensation, investments, and sale of real
estate, SEl’s forensic accountant identified substantial deposits with an indeterminate originating
source that went into several bank accounts held jointly by Defendant and Ms. Gibson. See
Affidavit of Kim Train, dated August 31, 2017, which is appended hereto as EXhibit D.

22. These unexplained~for~deposits identified by SEl’s forensic accountant Were
deposited in bank accounts jointly held by Ms. Gibson and Defendant, including a J.P. l\/lorgan
bank account ending in 0595 and a Bank of America account ending in 5601.

23. ln addition, on June 2, 2017, in connection with the above-referenced litigation,
counsel for SEI took the deposition of Wendy Gibson. During this deposition, counsel for SEI
identified substantial additional funds deposited into bank accounts held jointly by Defendant

and Ms. Gibson for which Ms. Gibson could not identify the originating source.

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24. The unexplained funds described above, deposited into Defendant’s joint account
with Ms. Gibson represent, at least, a substantial portion of the ill-gotten gains that Ms. Gibson
derived from the Fraudulent Wire Transfer of $198,000.

25. ln February 2018, in connection with a Union Grievance Arbitration, Peter
Gibson provided certain alleged documents which purported to explain the source of some
portion of the unexplained funds into the Gibsons’ joint accounts, but also for the first time
produced bank records which revealed approximately $30,000 in cash ATl\/l deposits into their
joint bank accounts which were made in the months immediately after the close of discovery in
the Wendy Gibson litigation.

26 . On or about May 17, 2018, Wendy Gibson filed for bankruptcy However, to
date, Peter Gibson has not filed for bankruptcy

Defendant Benejited From the Ill-Gotten Gains
Converted From SEI’s BankAccount in Massachusetts

27. Upon information and belief, after the Fraudulent Wire Transfer, Peter Gibson
intentionally concealed from and intentionally failed to disclose to SEl and CDMC that he had
benefited from the Fraudulent Wire Tr'ansfer.

28. ln June of 2017, after conducting an investigation and after conducting discovery
in the Wendy Gibson litigation, CDMC and SEI determined that Peter Gibson had benefited
from the Fraudulent Wire Transfer effectuated by his wife, Wendy Gibson. Based on this
finding, and the intimidating and harassing behavior that Defendant exhibited toward CDMC and
SEI employees relating to the then-pending litigation between SEI and Wendy Gibson, CDMC

terminated Defendant’s employment

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29. The Union representing Defendant, IUOE Local 25, contested Defendant’s
termination under the collective bargaining agreement governing Defendant’s employment The
dispute proceeded to binding arbitration

30. On February 16, 2018, an arbitration was held before Arbitrator l\/Iattye M.
Gandel (the “Arbitrator”). During this proceeding, the parties had the opportunity to present
evidence and argument and cross-examine witnesses

31. On May 23, 2018, the Arbitrator issued a written decision finding that CDMC had
just cause to terminate Defendant This decision was based on the Arbitrator’s determination
“that [Peter Gibson] benefited from [the Fraudulent Wire Transfer].” Arbitration Op. at 22-23.
A copy of the Arbitrator’s Opinion and Award are attached hereto as Exhibit E.

32. The Arbitrator’s determination “that [Peter Gibson] benefited from [the
Fraudulent Wire Transfer],” Which should be given preclusive effect in the instant action, was
based on several factors.

33. First, the Arbitrator found that there was no dispute that (1) there existed certain
unexplained deposits [in Peter Gibson’s bank accounts], (2) Peter Gibson considered his wife’s
property as his own, and (3) Peter Gibson and his wife “managed accounts jointly.” Arbitration
Op. at 21 .

34. Second, after Ms. Gibson effectuated the Fraudulent Wire Transfer and during the
time that Gibson’s bank accounts experienced unusual depository activity, Peter Gibson (1)
purchased a Harley Davidson motorcycle, an RV, and another Vehicle for his wife, Wendy

Gibson; and (2) traded in a Cadillac for another Cadillac. Arbitration Op. at 20-21.

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35. Third, the Arbitrator found that “[Gibson] and his wife spoke multiple times every
day; that during a period of time they were married; that during other times they were divorced
and that they spoke daily even when they were divorced.” Arbitration Op. at 21.

36. The Arbitrator also found that “it is just not credible, given their relationship and
their joint back [sic] accounts, that during those multiple calls when his wife was so upset that
she did not tell [Gibson] before, on the day of, or on the days/months/years after about the
fraudulent wire transfer.” Arbitration Op. at 22.

37. SEI repeats and incorporates herein by reference the facts found by the Arbitrator
as described above.

38. ln sum, after Ms. Gibson effected the Fraudulent Wire Transfer, Defendant began
to make large, unusual purchases from these joint accounts using the ill-gotten gains derived
from the Fraudulent Wire Transfer.

39. Following Ms. Gibson’s effectuation of the Fraudulent Wire Transfer, from
November 2014 to April 2015 , Defendant lived in l\/lassachusetts and worked for CDMC in
Massachusetts. During this time, various unexplained deposits were deposited into Defendant’s
bank accounts.

40. While Defendant moved from Massachusetts in April 2015, he continued to work
for CDMC in Massachusetts, traveled regularly to Massachusetts, and had constant e-mail and
telephone communications with CDMC and SEI employees in Massachusetts, until his

termination from CDl\/IC in June 2017 .

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COUNT I
(Monev Had and Received)

41. SEl repeats and incorporates herein by reference the allegations set forth in
paragraphs 1 through 40 above.

42. SEI has had, at all relevant times, an ownership and/or possessory interest in the
$198,000 (the “M”) transferred from SEl’s bank account via the Fraudulent Wire Transfer.

43. The Funds were transferred from SEl’s bank account via the Fraudulent Wire
Tr'ansfer With no adequate legal basis.

44. Defendant received into his various bank accounts, held jointly with his wife, the
Funds transferred from SEl’s bank account via the Fraudulent Wire Transfer. Defendant
received substantial, direct economic benefits fi'om receipt of the Funds.

45. Defendant has been unjustly enriched at SEl’s expense by his receipt of the
Funds, which should be returned to SEl.

46. As a direct and proximate result of Defendant’s receipt of the Funds, SEl has
suffered, and continues to suffer, harm and seeks restitution from Defendant for the value of the
benefit received by Defendant in an amount to be determined at trial.

COUNT II
(Unjust Enrichment)

47. SEl repeats and incorporates herein by reference the allegations set forth in
paragraphs 1 through 46 above.

48. Defendant received into his various bank accounts, held jointly with his wife, the
Funds transferred from SEl’s bank account via the Fraudulent Wire Transfer. Defendant
received substantial, direct economic benefits from use of the Funds to purchase or secure goods,

services, and other items of value.

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49. Defendant has been unjustly enriched at SEl’s expense by his use of the Funds to
purchase or secure goods, services, and other items of value.

5 0. As a direct and proximate result of Defendant’s use of the Funds to purchase or
secure goods, services, or other items of value, SEI has suffered, and continues to suffer, harm
and seeks restitution from Defendant for the value of the benefit received by Defendant in an
amount to be determined at trial.

PRAYERS FOR RELIEF
WHEREFORE, SEI respectfully requests that the court grant the following relief:
1. That the court enter judgement against Peter Gibson on all counts of the
complaint;
2. That the court enter judgment against Peter Gibson in the amount of

$ 1 9 8 ,000 ;

3. That the court award SEI restitution in the form of a money judgment for
the value of the benefit received by Peter Gibson in an amount to be determined at trial;

4. That the court award SEl its attorneys’ fees and costs against Peter
Gibson;

5. That the court award SEl pre and post judgment interest; and

6. That the court grant such further and additional relief against Peter Gibson

as the court deems just and proper.

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JURY DEMAND

SEl demands a trial by jury on all issues so triable.

DATED: June 12, 2018

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Respectfully submitted,

STERLING EQUIPMENT, INC.
By its counsel,

/s/ Jefz$”ev E. Frcmcz`s

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